           Case 2:06-cr-00343-JAM Document 205 Filed 03/01/13 Page 1 of 2


1    Robert M. Holley
     Attorney at Law
2    State Bar No. 50769
     2150 River Plaza Drive, Ste. 164
3    Sacramento, California 95833
     Telephone: (916) 922-2111
4
5    Counsel for Mr. Saelee
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7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )      CR. No. 2:06-cr-00343 JAM 4
11                                   )
                    Plaintiff,       )      EX-PARTE MOTION AND ORDER
12                                   )      EXONERATING BAIL AND ORDERING THE
          v.                         )      CLERK OF THE COURT FOR THE
13                                   )      EASTERN DISTRICT OF CALIFORNIA TO
     SOUKUANE SAELEE,                )      ISSUE AND TRANSMIT A DEED OF
14                                   )      RECONVEYANCE TO THE ORIGINAL
                    Defendant.       )      TRUSTORS
15   _______________________________ )
16
17                                        MOTION
18             In the above-numbered action, on 9/21/2006 Defendant SOUKUANE
19   SAELEE was released on an appearance bond secured by a deed of trust on
20   real property owned by Sarn V. Saeturn and Moang C. Saeturn, husband
21   and wife. (Clerk’s record, entry 56) On 3/8/2007 Mr. SAELEE was
22   sentenced to serve 1 year and 1 day in federal custody.          (Clerk’s
23   record, entries 114 and 118) On 4/19/2007 the return on Mr. SAELEE’S
24   commitment was issued by the federal correctional center.              (Clerk’s
25   record, entry 124) The case has long been concluded.
26             As the deed of trust associated with this bail matter is
27   still on record, it is hereby moved that the Court issue an order
28   exonerating Mr. Saelee’s bail, and that the Clerk of the Court for the
           Case 2:06-cr-00343-JAM Document 205 Filed 03/01/13 Page 2 of 2


1    Eastern District of California issue forthwith a deed of reconveyance
2    for said property upon which the deed of trust was recorded supporting
3    Mr. Saelee’s release on bail.
4              The name and address of the trustors on the deed of trust are
5    as follows;
6              Sarn V. Saeturn and Mouang C. Saeturn
               4019 Allendale Ave.
7              Oakland, CA 94619
8
9                                                 Respectfully submitted,
10                                                /s/ Robert M. Holley
11                                                Robert M. Holley
                                                  Counsel for Mr. Saelee
12
13
14                                        ORDER
15             GOOD CAUSE APPEARING, IT IS SO ORDERED.
16
               Dated: 2/28/2013
17
18                                     /s/ John A. Mendez
                                       HONORABLE JOHN A. MENDEZ
19                                     United States District Court Judge
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